











NUMBER 13-02-101-CR

COURT OF APPEALS

THIRTEENTH DISTRICT OF TEXAS

CORPUS CHRISTI

__________________________________________________________________


JULIUS ANDERSON , Appellant,


v.


THE STATE OF TEXAS, Appellee.

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On appeal from the 130th District Court 

of Matagorda County, Texas.

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O P I N I O N


Before Chief Justice Valdez and Justices Hinojosa and Yañez

Opinion Per Curiam


Appellant, JULIUS ANDERSON , attempted to perfect an appeal from a judgment entered by the 130th District Court of
Matagorda County, Texas.  Sentence in this cause was imposed on November 13, 2001 .  No motion for new trial was filed. 
 The notice of appeal was due to be filed on December 13, 2001 , but was not filed until February 13, 2002 .   Said notice of
appeal is untimely filed. 

Tex. R. App. P. 26.3 provides that the court of appeals may grant an extension of time for filing notice of appeal if such
notice is filed within  fifteen days of the last day allowed and within the same period a motion is filed in the court of
appeals reasonably explaining the need for such extension.  Appellant failed to file his notice of appeal and a motion
requesting an extension of time within such period. 

The Court, having considered the documents on file and appellant's failure to timely perfect his appeal, is of the opinion
that the appeal should be dismissed for want of jurisdiction.  The appeal is hereby DISMISSED FOR WANT OF
JURISDICTION.

PER CURIAM

Do not publish.

Tex. R. App. P. 47.3.



Opinion delivered and filed this

the 4th day of April, 2002 .


